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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                             May 23, 2022
                              UNITED STATES DISTRICT COURT
                                                                                          Nathan Ochsner, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

UNITED STATES OF AMERICA,                           §
     Plaintiff,                                     §
                                                    §
VS.                                                 §   CRIMINAL ACTION NO. 7:19-cr-00522
                                                    §   01, 03
RICARDO QUINTANILLA and                             §
ARTURO C. CUELLAR,                                  §
     Defendants.                                    §

                                               ORDER

           Came on to be considered the “Government’s Unopposed Emergency Motion for Status
Hearing.”1 The Government advises the Court that based on discussions between government
counsel and defense counsel, “[t]he Government understands that Defendant Quintanilla recently
suffered a health event that may impede his ability to participate in trial in this matter should it
commence on June 13, 2022.”2 After duly considering the motion, the Court finds that the motion
should be and is hereby GRANTED.
           Accordingly, the Court, finds it appropriate to schedule a Status Conference in this case.
Therefore, a Status Conference will be conducted on May 24, 2022, at 3:00 p.m. via
videoconference.
           Details regarding the method of participation in the videoconference will come prior to the
scheduled hearing. All attorneys appearing on behalf of parties in this case should be sure to update
their information with the Clerk of the Court.
           IT IS SO ORDERED.
           DONE at McAllen, Texas, this 23rd day of May 2022.


                                                        __________________________________
                                                                    Micaela Alvarez
                                                               United States District Judge



1
    Dkt. No. 338.
2
    Id. ¶ 2.


1/1
